          Case 4:18-cr-00534-DPM Document 50-2 Filed 10/12/21 Page 1 of 6Page I
Gmail - Suck                                                                                                           of6




f'4         Gmail                                                           Connor Shaw <squadconnorO3@gmai!.com>



 Suck
 12 messages

 Connor Shaw         <squadconnor03@gmail.com>                                               Thu, Aug 24,2017 at 1:1 1 PM
To: cqsdv€278        1   58628@pers. craigslist.org

  im 15 an skinny kinda athletic. im gay but not out yet an no one even knows so gotta be chill. iwanna suck
  u but wanna get sucked to. free after school so u gotta pick me up.



 craigslist 6278158628         <cqsdv-6278158628@pers.craigslist.org>                        Thu, Aug 24,2017 at 1 :20 PM
 To: db83dac7 c2a133a189          111   9f/51 da356a@reply.craigslist.org


  Thanks, I am very interested. I must be totally discreet too. As we continue to get to know each other,
   NO ONE must ever that we are sucking each others cock.

   Please tell me more about yourself..... every thing we share must remain between us only.

  Also, from this point on, we must trust each other totally, no sharing of our names or pictures with NO
  ONE.

   I   am   Ben, what is your name?

  Thanks, look fonrard to meeting you soon.




   Quoting Connor Shaw <db83dac7c2a133a1891                 1   19ff51da356a@reply.craigslist.org>:

       [Quoted text hidden]


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       https://littlerock. craigslist. orgl casl627 81 58628. html
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       Please flag unwanted messages (spam, scam, other):
       https://craigslist.org/mf/e83f665acee36 59c2475406d96e64b090eb30dbf.770




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Gmail - Suck                                                                                                     of6



Connor Shaw           <squadconno03@gmail.com>                                         Thu, Aug 24,2017 al1:27 PM
To: craigslist 62781 58628 <cqsdv62781 58628@pers.craigslist.org>

  im Connor. i don't talk about this stuff with no one an I won't share nothing ever. i live in Conway wit my
  mom. I'm in 9th grade n live over by the school. Do u do this lots cuz I never met no one from online. kinda
  nervous. lol
  lQuoted text hiddenl



 craigslist 6278158628         <cqsdv6278158628@pers.craigslist.org>                   Thu, Aug 24,2017 at 1:51 PM
 To: db83dac7 c2a133a1891          11   9f751 da356a@reply.craigslist.org


  Thanks Connor, I can assure that pur friendship will be very private and very discreet.

   I can atways pick you after school and get back in the time you require.

   I   do not do this often, beacuse I have to be so, so carful.

   Can I see yuor        picture? I will never share it with anyone..... our secret.



   Quoting Connor Shaw <db83dac7c2a133a1891 1 19ff51da356a@reply.craigslist.org>:

        [Quoted text hidden]
        https://craigslist.org/mf/65c50a0c9a6398bc6e774fbe872249a21d857d72.798




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   Please flag unwanted messages (spam, scam, other):
   https://craigslist.org/mf/417464eb2c030c7f00c44149b22d74bc7d7fece6.1



 Connor Shaw          <squadconno03@gmail.com>                                         Thu, Aug 24,2017 at 1:56 PM
 To: craigslist 62781 58628 <cqsdv€2781 58628@pers.craigslist.org>

   ok.canlseeapicofu2?le,angetfreeafterschoolbutnotuntillike5cuzlgottawatchmysister. ljus
   gotta be home before 9 during the week. are u in Conway? do u wanna do other stuff or jus suck each
   other.
   [Quoted text hiddenl


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Gmail - Suck




 Connor Shaw <squadconno03@gmail.com>                                                       Thu, Aug 24,2017 al2:20 PM
 To : cra gsl isl 627 I 1 58628 <cqsdv6278 1 5862 8@pers. craigsl ist.org>
         i




   Text me if u wanna. lts easier 4 me at school.
   5014825048.
   [Quoted text hidden]



 craigslist 62781 58628 <cqsdv€2781 58628@pers.craigslist.org>                              Thu, Aug 24,2017 at 2:30 PM
 To: db83dac7 c2a133a189 1 1 1 9f751 da356a@reply.craigslist.org


   Let's text and share our pictures. I am wanting to suck your cock and you suck mine at first. Then, after
   we get to know each other ally well, I will want to fuck you if will let me.




   Quoting Connor Shaw <db83dac7c2a133a1891 119ff51da356a@reply.craigslist.org>:

      Text me if u wanna. lt's easier 4 me at school.
      5014825048.


      On Thursday, August 24,2017, Connor Shaw
      <db83dac7c2a1 33a1891 1 1 9ff 5 1 da356a@reply.craigslist.org> wrote:

         ok. can I see a pic of u 2? I can get free after school but not until like
         5 cuz I gotta watch my sister. ljus gotta be home before 9 during the
         week. are u in Conway? do u wanna do other stuff or jus suck each other.

         On Thursday, August 24,2017, craigslist 6278158628 <
         cqsdv-6278 1 58628@pers. craigslist. org
         < javascript:                                      1   58628@pers.craigslist.org');>>
                          -e(o/o7Bo/o7D,'cvml','cqsdv6278
         [Ouoted text hidden]
      lQuoted text hidden]
      https://craigslist.org/mf/ea4831e4b94f4f429Ob145c5aec4dd8eec5daca0.1296




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Gmail - Suck                                                                                                      of6



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  Please flag unwanted messages (spam, scam, other):
  https :l/crai gslist. org/mf/Scd 1 c627cf60e599dfc49a88a6509eb92d7d90c.         1




craigslist 6278158628 <cqsdv-6278158628@pers.craigslist.org> Thu, Aug 24,2017 at 2:32 PM
To: db83dac7 c2a133a1 89 1 1 1 9f/5 1 da356a@reply.craigslist.org


  I will not be free until this week    end, but can pick you up next Monday after school.

  Quoting Connor Shaw <db83dac7c2a133a1891 1 19f/51da356a@reply.craigslist.org>:

       lQuoted text hidden]
       https://craigslist.org/mf/624f9924390e88a6ac6d48c0adb99c01cbe0ccf6.488




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  Please flag unwanted messages (spam, scam, other):
  https://craigslist.org/mf/baf8cfaf8afl e7ad24e342a481 1ef31bd7026758.1



 Connor Shaw         <squadconno03@gmail.com>                                             Thu, Aug 24,2017 at 2:33 PM
 To: craigslisl 627 81 58628 <cqsdv627 81 58628@pers.craigslist.org>

   Ok. I never had sex wit a guy so. when can u hookup?
   IQuoted text hidden]



 Connor Shaw         <squadconno03@gmail.com>                                             Thu, Aug 24,2017 at 2:33 PM
 To: craigslist 62781 58628 <cqsdv62781 58628@pers.craigslist.org>

   ok that wuld be cool.
   lQuoted text hiddenl



 Connor Shaw         <squadconno03@gmail.com>                                             Thu, Aug 24,2017 at 2:35 PM
 To: craigslist 627 8158628 <cqsdv62781 58628@pers.craigslist.org>

   Text me ur number
   lQuoted text hiddenl



 craigslist 6278158628         <cqsdv6278158628@pers.craigslist.org>                      Thu, Aug 24,2017 at 2:38 PM
 To: db83dac7 c2a1 33a189       111   9f/51 da356a@reply.craigslist.org


   I   just sent you a text.

   Quoting Connor Shaw <db83 dac7c2a133a 1 891           11   9ff51 da356a@reply.craigslist.org>:




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Gmail - Suck



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           Case 4:18-cr-00534-DPM Document 50-2 Filed 10/12/21 Page 6 of 6Pags 6 of6
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